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                     Exhibit A
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                     Exhibit B
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 1   Kristen Clarke                                Cecillia D. Wang (pro hac vice)
 2
     Assistant Attorney General                    ACLU FOUNDATION
     Steven H. Rosenbaum (NY Bar No.               39 Drumm Street
 3   1901958)                                      San Francisco, CA 94111
     Maureen Johnston (WA Bar No. 50037)           Telephone: + 1 (415) 343-0775
 4   Nancy Glass (DC Bar No. 995831)               Email: cwang@aclu.org
 5   Beatriz Aguirre (NV Bar No. 14816)
     Suraj Kumar (NY Bar No. 5620745)              Stanley Young (pro hac vice)
 6   Special Litigation Section                    COVINGTON & BURLING LLP
     Civil Rights Division                         3000 El Camino Real
 7
     U.S. Department of Justice                    5 Palo Alto Square, 10th Floor
 8   150 M Street NE, 10th Floor,                  Palo Alto, CA 94306
     Washington, D.C. 20002                        Telephone: + 1 (650) 632-4704
 9   Telephone: +1 (202) 598-0139                  Email: syoung@cov.com
10   Email: nancy.glass@usdoj.gov
                                                   Attorneys for Plaintiffs (additional attorneys
11   Attorneys for the United States               listed on next page)
12
                                  UNITED STATES DISTRICT COURT
13
                                   FOR THE DISTRICT OF ARIZONA
14

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16    Manuel de Jesus Ortega Melendres, on
      behalf of himself and all others similarly     Civil Case No.: 2:07-cv-2513-PHX-GMS
17    situated; et al.
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                          Plaintiffs,                DECLARATION OF ANDREW
19    and                                            BRUNSDEN IN SUPPORT OF JOINT
                                                     RESPONSE OF THE UNITED STATES
20                                                   AND THE PLAINTIFF CLASS TO THE
      United States of America
21                                                   COURT-APPOINTED EXPERT’S
                          Plaintiff-Intervenor,      REPORT ON DEFENDANTS’
22                                                   UNTIMELY INVESTIGATIONS
23           v.

24    Paul Penzone, in his official capacity as
      Sheriff of Maricopa County, AZ; et al.
25

26                         Defendants.

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 1   Additional Attorneys for Plaintiffs:        Salesforce Tower
 2
     Victoria Lopez (AZ 330042)                  415 Mission Street, Suite 5400
     Christine Wee (AZ 028535)                   San Francisco, CA 94105-2533
 3   Benjamin Rundall (AZ 031661)                Telephone: + 1 (415) 591-6000
     ACLU Foundation of Arizona                  Email: aheath@cov.com
 4   3707 North 7th Street, Suite 235
 5   Phoenix, AZ 85014                           Andres Holguin-Flores (pro hac vice)
     Telephone: (602) 650-1854                   MALDEF
 6   Email: vlopez@acluaz.org                    634 South Spring Street, 11th Floor
                                                 Los Angeles, CA 90014
 7
     Amy Heath (pro hac vice)                    Telephone: +1 (213) 629-2512
 8   COVINGTON & BURLING LLP                     Email: AHolguin-Flores@maldef.org
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 1          I, Andrew Brunsden, declare as follows:
 2          1.     I am Deputy Commissioner of Legal Affairs and General Counsel for the New York
 3   City Department of Investigation (DOI), the City’s independent oversight agency. In this position,
 4   I serve as the agency’s chief legal officer and Inspector General (IG) for internal investigations. I
 5   have been at DOI since 2013 and was previously an IG for City agencies for over eight years. As
 6   IG, I supervised units of investigators, attorneys, and auditors on criminal and administrative
 7   investigations of fraud, waste, abuse, and ethics and policy violations. In addition to individual
 8   misconduct cases, I have managed systemic investigations that identified operational deficiencies
 9   and recommended corrective action, including review of the New York City Police Department’s
10   response to protests after the killing of George Floyd. Before DOI, I was a law firm associate and
11   a law clerk to judges on the U.S. Court of Appeals for the Second Circuit and the U.S. District
12   Court for the Central District of California. I received my J.D. from UCLA School of Law, M.Litt.
13   in Philosophy and Anthropology from the University of St. Andrews, and B.A. in Political Science
14   and Philosophy from the University of Michigan. Currently, I am an Adjunct Professor of Law at
15   New York Law School, and have spoken at conferences and published articles on oversight and
16   investigations, including a recent law review article on the core value of independence to the
17   performance      of     government       oversight.     For     additional      background,      see
18   https://www1.nyc.gov/site/doi/about/bio-andrew-brunsden2.page. The views I express in this
19   declaration are my own.
20          2.     I was retained in 2022 by the Department of Justice Civil Rights Division
21   (hereinafter DOJ) to consult on recommending remedies for the Maricopa County Sheriff Office’s
22   (MCSO) backlog of internal investigations and compliance with the Court’s orders in Ortega
23   Melendres v. Penzone.
24          3.     I conducted a review of MCSO internal investigations. Specifically, I reviewed 31
25   case files. This review included a sample of 21 cases, which had been opened on various dates
26   between 2018 and 2020. I selected these cases from MCSO’s spreadsheet of cases closed between
27   January 1, 2020 and December 31, 2021 based on several categories, including cases assigned to
28   investigators with both high and low numbers of closed cases related to patrol and detention; cases

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 1   involving unbecoming conduct and bias allegations, as well as multiple allegations; and cases
 2   with individuals ranked above Sergeant or posse members as principals. The review also included
 3   the 10 cases that MCSO produced to the Court Management Expert (ME). I have reviewed other
 4   relevant materials including all materials that MCSO provided to the ME, court orders and filings,
 5   MCSO policies, PSB trainings, PSB semi-annual reports, Bureau of Internal Oversight audits of
 6   PSB, MCSO’s 2021 annual report on the complaint intake testing program, correspondence
 7   among the parties, and sections of Monitor reports. I also reviewed the ME’s Report to the Court.
 8   This declaration represents a brief summary of my initial findings on the backlog, not a full report.
 9          4.     Based on my review and background in investigations, I conclude that systemic
10   failures in MCSO’s management of internal investigations have driven the backlog of cases.
11   However, I provide this opinion with the qualification that the record lacks sufficient information
12   to provide a complete analysis of the factors creating the backlog or full evaluation of proposed
13   solutions. This qualification highlights limitations in the findings and recommendations of the ME
14   Report, as well as the need for case file assessment, data analysis, and further clarification of
15   MCSO’s current investigative practices to pinpoint the backlog’s causes with specificity, design
16   remedies tailored to those causes, and project their impact on reducing the backlog.
17          5.     The ME found MCSO’s stated prioritization of compliance with “quality over
18   timeliness” requirements likely resulted in unnecessary investigative steps, ME Report at 10-11,
19   but he did not identify specific investigative practices that may contribute to delays. 1 Case file
20   review is an important tool to determine these causes. My file review to date identified MCSO
21   case management decisions that undermine timeliness.
22          6.     First, case records indicate a lack of sufficient planning by investigators and active
23   management by MCSO supervisors. I did not find any evidence of specific investigative plans
24   developed at the onset of cases in consultation with supervisors or regular case review meetings
25   between investigators and supervisors during investigations. In my experience, investigators who
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       Although the ME Report points to the MCSO checklist of investigative steps, it does not
     itemize which checklist steps – most are documentation and retention requirements – cause
28   delays. See ME Report at 11.

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 1   develop plans tailored to a particular case and consult with supervisors on such plans are more
 2   likely to perform effective and efficient investigations. Records suggested that supervisors’
 3   involvement is limited to tasks such as granting extension requests and reviewing completed
 4   investigations. In my view, closer supervision during open investigations can assist investigators
 5   in developing skills and ensure that they are using their time efficiently. Regular case review
 6   meetings allow supervisors to set and enforce deadlines, troubleshoot challenges, adjust plans,
 7   avoid unnecessary steps, and address priorities across an investigator’s caseload. While I found
 8   examples of case work involving adequate steps, I also found instances of shortcomings, including
 9   the following:
10      • Delays scheduling interviews, such as a case (IA2017-0468) where the complainant was
11          interviewed more than two years after the complaint, when the matter was reassigned to a
12          new investigator; a case (IA2018-0458) involving a one-and-a-half year delay between the
13          witness and principal interviews; and another case (IA2018-0343) involving an apparent
14          gap of four months between conducting a principal interview and completion of most other
15          steps.
16      • Delays requesting information, such as a case (IA2018-0343) with a request for a dispatch
17          call after the six-month retention period expired.
18      • Unnecessary or tangential research, such as a case (IA2020-0517) alleging a detention
19          officer’s utterance of the “N-word” where the investigator searched online dictionary
20          definitions of the term; a case (IA2020-0700) alleging concerns about off-duty MCSO
21          officers providing traffic control for a parade during the COVID-19 pandemic where the
22          investigator conducted online legal research on law enforcement authority to enforce local
23          emergency declarations; and another case (IA2021-0405) alleging rudeness by a
24          responding officer where the investigator had body worn camera footage of the interaction,
25          but nonetheless obtained immaterial information, such as street maps.
26      • Insufficient application or synthesis of facts in closing reports, as discussed further below.
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 1   Closer supervision and proper planning during ongoing investigations could help address such
 2   issues. Documentation of plans, case reviews, and deadlines also enhance accountability and
 3   productivity.
 4            7.     In addition, case files revealed that investigators often write long closing
 5   memoranda. I calculated the average length of closing reports in these cases to be approximately
 6   33 pages, excluding attachments. 2 Given the nature of the allegations and the facts, I estimate that
 7   the reports in most of these cases could have been reasonably streamlined to a length in the range
 8   of approximately 3 to 10 pages. Instead, the closing reports often included extensive descriptions
 9   of witness interviews that approached verbatim transcriptions and discussed details that had little
10   to no bearing on resolving the allegations, rather than focus on summarizing key statements and
11   applying the facts to resolve the allegations. This was done despite investigators recording the
12   interviews and, in some cases, already having full transcriptions of the interviews separately
13   documented. The level of detail in these prolix reports was rarely tied to the complexity of
14   allegations and was usually unnecessary to explain findings, justify determinations, or facilitate
15   supervisory review. Consequently, investigators appear to utilize valuable time writing
16   excessively detailed reports, rather than investigating cases, and supervisors appear to be mired in
17   review of these reports. Concise reports and more active supervision can both support findings
18   and expedite timely completion.
19            8.     Data analysis is another important tool to determine the causes of delay that could
20   help to pinpoint additional ways an investigation is delayed and estimate the overall impact of
21   those delays. While the ME properly recognizes the need for additional resources, ME Report at
22   22-23, consideration of available data on existing resources is useful to analyze investigator
23   assignments and performance.
24            9.     The ME’s key recommendation is the appointment of a Constitutional Policing
25   Advisor (CPA), who would oversee the process of implementing other recommended changes to
26   PSB practices. ME Report at 23-27.
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         This calculation does not include the shortest (10 pages) and longest (195 pages) reports.

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 1          10.    Appointment of a CPA with clearly defined responsibilities could promote
 2   efficiency and confidence in classification decisions under a modified intake system and other
 3   efforts to address the backlog. The critical question is how best to structure the CPA’s oversight
 4   role related to MCSO in light of the persistent management issues that have led to the backlog.
 5   Independence is a cornerstone of oversight directed at reforming deficient government practices.
 6   Independence requires that the oversight actor have a sufficient degree of insulation from outside
 7   interference or pressure in order to provide objective review and determinations. A separation of
 8   duties between programmatic and oversight responsibilities is standard practice to promote such
 9   independence. Accordingly, if an independent CPA is sought, I propose that the CPA should
10   operate as an auditor who reviews MCSO’s intake classification decisions, as well as other
11   changes to address the backlog. To the extent that classification decisions reside with the PSB
12   Commander, the CPA would review such decisions, rather than participate in them in the first
13   instance. Nonetheless, independence does not require disengagement, as the ME states in
14   describing a vision for the CPA. Part of the auditor function may involve attending MCSO intake
15   meetings and consulting on criteria for classification decisions. Another component of
16   independent oversight that will be crucial for any CPA to succeed in an auditor role is sufficient
17   authority to pursue remedies when the CPA identifies deficiencies. Oversight entities that serve
18   an auditor function often have authority to monitor an agency’s performance and make
19   recommendations that address deficiencies to which the agency is required to respond. Here, in
20   light of MCSO’s prior compliance failures and continued challenges with the backlog, additional
21   authority to compel or correct action in certain contexts, such as classification decisions which
22   the CPA deems erroneous, is a valid consideration to enforce appropriate reform. 3
23          11.    In light of MCSO’s longstanding compliance issues, for a remedy to be effective, it
24   should be tailored to a comprehensive understanding of the deficiencies. While the ME’s findings
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       In addition to the independence rationale for an auditor function, resource constraints suggest it
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     is unrealistic to expect that a CPA with review responsibilities will also have the capacity to be
     involved in processing the high volume of intakes, classifying the allegations, and developing
28   investigative plans.

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 1   and recommendations are a useful point of departure, my opinion is that additional file review,
 2   data analysis, and evidence gathering is necessary to identify the specific reforms that will address
 3   the MCSO management and leadership failures at the heart of the problem. Upon adoption of
 4   reforms, MCSO, and any CPA, should be directed to collect data related to implementation in
 5   order to track the progress of efforts to reduce the backlog and ensure reporting documents those
 6   efforts. This would include data on complaint classification under a central intake process,
 7   investigator assignments and closed case rates, supervisor assignments and length of the review
 8   process, and other relevant data points. To pursue accountability and transparency in addressing
 9   the backlog, it is imperative that reforms target the systemic defects in MCSO’s investigative and
10   review practices, and then regularly document and report on reform efforts.
11

12          I declare under penalty of perjury that the foregoing is true and correct to the best of my
13   knowledge, information, and belief, and that this Declaration was executed this 15th day of
14   August, 2022.
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17                                                            Andrew Brunsden
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